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 7                          UNITED STATES DISTRICT COURT

8                       CENTRAL DISTRICT OF CALIFORNIA

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     CALIFORNIA RIFLE & PISTOL            Case No. 2:23-10169-SPG (ADSx)
10   ASSOCIATION, INCORPORATED; THE
     SECOND AMENDMENT                     ORDER RE: SETTLEMENT
11   FOUNDATION; GUN OWNERS OF            CONFERENCE
     AMERICA, INC.; GUN OWNERS
12   FOUNDATION; GUN OWNERS OF
     CALIFORNIA, INC.; ERICK
13   VELASQUEZ, an individual; CHARLES
     MESSEL, an individual; BRIAN
14   WEIMER, an individual; CLARENCE
     RIGALI, an individual; KEITH REEVES,
15   an individual, and CYNTHIA
     GABALDON, an individual; STEPHEN
16   HOOVER, an individual,

17                     Plaintiffs,

18                     v.
                                            DATE: June 24, 2025
19   LOS ANGELES COUNTY SHERIFF’S           TIME: 10:00 a.m.
     DEPARTMENT; SHERIFF ROBERT             PLACE: Courtroom 6B
20   LUNA, in his official capacity; LA
     VERNE POLICE DEPARTMENT; LA
21   VERNE CHIEF OF POLICE COLLEEN
     FLORES, in her official capacity;
22   ROBERT BONTA, in his official capacity
     as Attorney General of the State of
23   California; and DOES 1-10,

24                     Defendants.


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 1                        PLEASE READ THIS ORDER CAREFULLY

 2         This case has been referred to Magistrate Judge Autumn D. Spaeth for settlement

 3   proceedings.

 4         The Settlement Conference is placed on calendar for June 24, 2025, at 10:00

 5   a.m., in Courtroom 6B, 6th Floor, 411 W. Fourth Street, Santa Ana,

 6   California, 92701.

 7         Judge Spaeth will not be involved in the actual trial of the case and will assist the

8    parties in an objective appraisal and evaluation of the case. The following are

 9   mandatory guidelines for the parties in preparing for the Settlement Conference.

10   I.    SETTLEMENT CONFERENCE OBJECTIVES AND CONFIDENTIALITY

11         A.       The purpose of the Settlement Conference is to permit an informal

12   discussion between the attorneys, parties, non-party indemnitors or insurers, and the

13   Magistrate Judge of every aspect of the case bearing on its settlement value.

14         B.       Local Rule 16-15.8 is adopted for this settlement proceeding as described

15   herein. Pursuant to Local Rule 16-15.8 and Federal Rule of Evidence 408, these

16   settlement proceedings shall be confidential between the parties, unless the parties

17   otherwise agree. No part of a settlement proceeding shall be reported or otherwise

18   recorded, without the consent of the parties, except to take the appearances of the

19   parties and for any memorialization of a settlement. Counsel are reminded, and must

20   also notify their clients, that the Local Rules of Court prohibit non-court personnel from

21   recording or broadcasting these proceedings. L.R. 83-6 et. seq.

22   II.   PRIOR TO THE SETTLEMENT CONFERENCE

23         A.       The parties must attempt in good faith to resolve the case before the

24   Settlement Conference. By no later than two (2) weeks in advance of the


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 1   Settlement Conference, counsel must meet in person or by telephone to reasonably

 2   discuss the settlement of this matter. Specifically, the parties must present an

 3   offer and counteroffer during this pre-conference negotiation. Failure to

 4   participate in pre-conference negotiations may be basis for sanctions.

 5          B.      Prior to the Settlement Conference, the attorneys are directed to discuss

 6   settlement with their respective clients and insurance representatives, so that the

 7   parameters of possible settlement will have been explored well in advance of the

8    Settlement Conference.

 9          C.      If the parties successfully resolve the case before the Settlement

10   Conference, or determine that the Conference should be postponed, counsel must

11   immediately inform Judge Spaeth’s Courtroom Deputy Clerk.

12          D.      No later than five (5) days prior to the Settlement Conference,

13   each party shall submit a Confidential Settlement Conference Statement directly to the

14   Chambers of Judge Spaeth via email to ADS Chambers@cacd.uscourts.gov. The

15   Statements should not be filed with the Clerk of the Court and they will not be made

16   part of the casefile.

17          E.      The Confidential Settlement Conference Statements should include, in no

18   particular order, the following:

19                  1.       A brief statement of the facts of the case, including the party’s

20          claims and defenses. The Statement should include citations to the applicable

21          statutory or other grounds upon which claims or defenses are based. The

22          Statement should identify the major factual and legal issues in dispute, and cite

23          the legal authority supporting the party’s position, and any controlling

24          authorities.


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 1                2.      An itemized statement of the damages claimed, and any

 2         other relief sought. This is one of the most critical aspects of the party’s

 3         Statement. Any Confidential Settlement Conference Statement by a

 4         party seeking damages, which omits an itemized statement of

 5         damages, will be considered to be in violation of this Order and the

 6         party may be subject to sanctions.

 7                3.      A summary of the proceedings to date, including any case

8          management dates/deadlines already set by the District Judge.

 9                4.      A history of settlement discussions, including all demands, offers,

10         and proposals. The parties must summarize all settlement efforts in their

11         Confidential Settlement Conference Statement.

12                5.      A forthright evaluation of the party’s likelihood of prevailing on

13         each of its claims and/or defenses.

14                6.      The approximate amount of attorney’s fees, time, and costs

15         expended to date, and an estimate of the fees, time, and costs to be expended for

16         (i) any further discovery, (ii) pretrial preparation, and (iii) trial.

17                7.      The party’s evaluation of the terms on which the case could be

18         settled fairly, taking into account the litigation position and settlement position

19         of the other side.

20                8.      A list of the individuals that will attend the Settlement Conference

21         for the party, along with their role/title. This list should identify which attendee

22         has full settlement authority. Parties should also list who the party believes

23         should be present on behalf of the opposing party in order to resolve matter, e.g.

24         insurance carrier.


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 1                 9.      The Statement shall be double-spaced and shall not exceed ten (10)

 2          pages in length.

 3                 10.     Parties may attach exhibits that are relevant to settlement

 4          discussions.

 5                 11.     Copies of the Confidential Settlement Conference Statement need

 6          not be served upon opposing counsel.

 7          F.     In the event both parties agree that a Settlement Conference would not be

8    meaningful at this point in the litigation, after the above described steps are

 9   completed, the parties are instructed to telephone Judge Spaeth’s Courtroom Deputy

10   Clerk at (714) 338-4776 and inform her of this information. The Court will then hold the

11   Settlement Conference telephonically and will notify the parties of the date of the

12   telephonic conference.

13   III.   SETTLEMENT CONFERENCE ATTENDANCE REQUIREMENTS

14          A.     Counsel who will try the case must be present at the Settlement

15   Conference. In addition, a person with full settlement authority on behalf of the party

16   must be present for the Settlement Conference. This requirement contemplates

17   the physical presence of your client or, if a corporate or government entity,

18   of an authorized and knowledgeable representative of your client. Even if

19   your client is located outside the Central District of California, the client’s representative

20   with full settlement authority will be expected to appear in person.

21          B.     The plaintiff’s representatives must have full and final

22   settlement authority to authorize dismissal of the case with prejudice, or to

23   accept a settlement amount recommended by the Magistrate Judge down to

24   the defendant’s last offer made prior to the Settlement Conference.


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 1          C.      The defendant’s representatives must have full and final

 2   settlement authority to commit the defendant to pay a settlement amount

 3   recommended by the Magistrate Judge up to the plaintiff’s prayer

 4   (excluding punitive damage prayers), or up to the plaintiff’s last demand

 5   made prior to the Settlement Conference, whichever is lower.1

 6          D.      The purpose of this requirement is to have representatives present who

 7   can settle the case during the course of the Conference without consulting a superior.

8           E.      If Board approval is required to authorize settlement, the attendance of at

 9   least one sitting and knowledgeable member of the Board (preferably the Chairman) is

10   absolutely required.

11          F.      Any insurance company that is a party or is contractually

12   required to defend or to pay damages, if any, assessed within policy limits

13   in this case, must have a fully authorized settlement representative present

14   at the Settlement Conference. Such representatives must have final settlement

15   authority to commit the company to pay, in the representatives’ discretion, an amount

16   recommended by the Magistrate Judge within the policy limits. The purpose of this

17   requirement is to have an insurance representative present who can settle the

18   outstanding claim during the course of the Conference without consulting a superior.

19   An insurance representative authorized to pay, in the representative’s discretion, up to

20   the plaintiff’s last demand made prior to the Settlement Conference will also satisfy this

21   requirement.

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     1 This rule does not apply to cases involving pro se plaintiffs. However, the defendant
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     must have a representative present with appropriate authority to settle the case.

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 1          G.     Counsel of record will be responsible for timely advising any involved non-

 2   party insurance company of the requirements of this Order.

 3          H.     Any violation of these attendance requirements will cause the

 4   Court to cancel the Settlement Conference. Counsel appearing without their

 5   client(s) (whether or not counsel purportedly have been given settlement authority) will

 6   cause the Settlement Conference to be canceled and rescheduled. The noncomplying

 7   attorney, party, or both may be assessed the costs and expenses incurred by the other

8    parties as a result of such cancellation and rescheduling, as well as any additional

 9   sanctions deemed appropriate.

10          I.     Any relief from this requirement may only be granted by the Court,

11   following a motion or ex parte application from the party seeking relief. Relief from this

12   requirement will rarely, if ever, be granted and only upon a showing of exceptional good

13   cause.2

14   IV.    SETTLEMENT CONFERENCE PROCEDURES

15          A.     At the Settlement Conference, each party shall be fully prepared to discuss

16   all economic and non-economic factors relevant to a full and final settlement of the case.

17          B.     At the commencement of the Conference, each party through counsel may

18   be required to make an oral presentation (not to exceed five (5) minutes) of the relevant

19   facts and law, in the presence of all parties and counsel.

20          C.     Counsel should have available for the Court’s review copies of all critical

21   documents (i.e., pleadings, declarations or witness statements, business records,

22
     2 The provisions of Local Rule 16-15.5(b) are inapplicable to this Order.
                                                                             Parties may
23
     only appear by telephone with prior approval of the Court. Only the United States, its
24   agencies, or employees are entitled to rely upon Local Rule 16-15.5(b).


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 1   personnel, files, etc.) in the case, as well as copies of all important witnesses’ deposition

 2   transcripts, if a party believes such documents will assist in the evaluation of the case.

 3          D.     If a party’s settlement position is predicated on the recoupment or

 4   recovery of attorney’s fees and/or costs, then its counsel should have available for the

 5   Court’s review copies of billing records substantiating both the time expended and the

 6   expenses incurred.

 7          E.     The Magistrate Judge may, in her discretion, converse with the lawyers,

8    the parties, the insurance representatives, or any one of them outside of the hearing of

 9   the others. The comments of the Judge during such separate sessions are not to be used

10   by counsel in settlement negotiations with opposing counsel. This is a necessary

11   requirement in order to avoid intentional or unintentional misquotation of the Judge’s

12   comments. Violation of this policy may be misleading and therefore a hindrance to

13   settlement.

14          F.     If the parties reach a resolution of the case during the Conference, the

15   Court will summarize the key terms of the agreement on the record or will direct the

16   parties to draft an appropriate memorandum. The Court encourages counsel to bring a

17   proposed settlement agreement to the Conference.

18          G.     If settlement between any or all the parties is reached as a result of the

19   Settlement Conference, it is the responsibility of all counsel to immediately report the

20   settlement to the District Judge’s Courtroom Deputy Clerk, as well as to timely

21   memorialize the settlement. See Local Rule 16-15.7.

22          H.     If no resolution is reached, the Court will consult with the parties to

23   determine whether an additional Settlement Conference is likely to be productive.

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 1          I.     By participating in the Settlement Conference, the parties understand and

 2   agree that the Magistrate Judge may continue to handle discovery motions and other

 3   pretrial proceedings in this action.

 4          J.     All papers submitted for the Settlement Conference will either be returned

 5   to the parties or destroyed by the Magistrate Judge, after all the settlement proceedings

 6   are concluded, unless the parties agree otherwise.

 7   IT IS SO ORDERED.

8    Dated: May 22, 2025

 9                                                         /s/ Autumn D. Spaeth
                                                     HONORABLE AUTUMN D. SPAETH
10                                                   United States Magistrate Judge

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